                  Case 20-12456-JTD                Doc 1060          Filed 02/04/21          Page 1 of 20




                           IN THE UNITED STATES BANKRUPTCY COURT
                                FOR THE DISTRICT OF DELAWARE

In re:                                                               Chapter 11

RTI HOLDING COMPANY, LLC,1                                           Case No. 20-12456 (JTD)
                                                                     (Jointly Administered)
                            Debtors.

RUBY TUESDAY, INC.,

                            Plaintiff,
          v.

EVERGREEN DEVELOPMENT COMPANY,                                       Adv. Proc. Case No. 20-51045 (JTD)
L.L.C.,
MOODY NATIONAL RUBY T, LLC,                                          Adv. Proc. Case No. 20-51046 (JTD)
434 KING STREET, LLC,                                                Adv. Proc. Case No. 20-51048 (JTD)
                           Defendants.

    SECOND AMENDED2 NOTICE OF AGENDA OF MATTERS SCHEDULED FOR
   HEARING ON FEBRUARY 4, 2021 AT 1:00 P.M. (PREVAILING EASTERN TIME)
               BEFORE THE HONORABLE JOHN T. DORSEY

      PLEASE TAKE NOTICE: All remote hearings scheduled before Judge Dorsey on or after
        Tuesday, January 19, 2021 will be conducted entirely over Zoom and will require all
        participants to register in advance. CourtCall will no longer be used to dial in unless
             otherwise specified by chambers. This hearing will be held via Zoom only.
           Any party wishing to appear must register no later than one (1) hour prior to
                                     the hearing at the link below:


          1 The Debtors in these chapter 11 cases and the last four digits of each Debtor’s U.S. tax identification number are as
follows: RTI Holding Company, LLC (4966); Ruby Tuesday, Inc. (5239); Ruby Tuesday, LLC (1391); RTBD, LLC (6505); RT
of Carroll County, LLC (8836); RT Denver Franchise, L.P. (2621); RT Detroit Franchise, LLC (8738); RT Distributing, LLC
(6096); RT Finance, LLC (7242); RT FL Gift Cards, Inc. (2189); RT Florida Equity, LLC (7159); RT Franchise Acquisition,
LLC (1438); RT of Fruitland, Inc. (1103); RT Indianapolis Franchise, LLC (6016); RT Jonesboro Club (2726); RT KCMO
Franchise, LLC (7020); RT Kentucky Restaurant Holdings, LLC (7435); RT Las Vegas Franchise, LLC (4969); RT Long Island
Franchise, LLC (4072); RT of Maryland, LLC (7395); RT Michiana Franchise, LLC (8739); RT Michigan Franchise, LLC
(8760); RT Minneapolis Franchise, LLC (2746); RT Minneapolis Holdings, LLC (7189); RT New England Franchise, LLC
(4970); RT New Hampshire Restaurant Holdings, LLC (7438); RT New York Franchise, LLC (1154); RT Omaha Franchise,
LLC (7442); RT Omaha Holdings, LLC (8647); RT One Percent Holdings, LLC (6689); RT One Percent Holdings II, LLC
(2817); RT Orlando Franchise, LP (5105); RT Restaurant Services, LLC (7283); RT South Florida Franchise, LP (3535); RT
Southwest Franchise, LLC (9715); RT St. Louis Franchise, LLC (6010); RT Tampa Franchise, LP (5290); RT Western Missouri
Franchise, LLC (6082); RT West Palm Beach Franchise, LP (0359); RTTA, LP (0035); RTT Texas, Inc. (2461); RTTT, LLC
(9194); Ruby Tuesday of Allegany County, Inc. (8011); Ruby Tuesday of Bryant, Inc. (6703); Ruby Tuesday of Columbia, Inc.
(4091); Ruby Tuesday of Frederick, Inc. (4249); Ruby Tuesday of Linthicum, Inc. (8716); Ruby Tuesday of Marley Station, Inc.
(1641); Ruby Tuesday of Pocomoke City, Inc. (0472); Ruby Tuesday of Russellville, Inc. (1601); and Ruby Tuesday of
Salisbury, Inc. (5432). The Debtors’ mailing address is 333 East Broadway Ave., Maryville, TN 37804.
          2
              Amended items noted in bold.


                                                                1
               Case 20-12456-JTD       Doc 1060      Filed 02/04/21   Page 2 of 20




     https://debuscourts.zoomgov.com/meeting/register/vJIsdeytqzIpG4lj9nAearINCTJcEeiGOxE


ADJOURNED MATTER:

1.       Confirmation of Debtors’ Amended Chapter 11 Plan [Filed 12/21/20] (Docket No. 761)

         Confirmation Response Deadline: January 29, 2021 at 4:00 p.m. (ET). Extended for 434
         King Street LLC, Moody National Companies, and Canal Street Properties, Inc. to
         February 1, 2021 at 4:00 p.m. (ET). Extended for Carousel Center Company, L.P.,
         Crossgates Mall General Company NewCo, LLC, Crystal Run Galleria LLC, Holyoke
         Mall Company, L.P., Poughkeepsie Galleria LLC, National Land Resources, L.P., North
         Haven Holdings Limited Partnership, Red Baron Property Resources Limited
         Partnership, Middletown I Resources L.P., JDN Real Estate – Hamilton, L.P., and Steven
         W. Thomas, PBCG, Aston Properties, Inc., and the Office of the U.S. Trustee, and the
         Official Committee of Unsecured Creditors to February 2, 2021 at 4:00 p.m. (ET).

         Cure Response Deadline: January 29, 2021 at 4:00 p.m. (ET). Extended for AIG
         Insurance, 434 King Street LLC, Moody National Companies, Canal Street Properties,
         Inc., LMF Properties, KRG Evans Mullins, Carousel Center Company, L.P., Crossgates
         Mall General Company NewCo, LLC, Crystal Run Galleria LLC, Holyoke Mall
         Company, L.P., Poughkeepsie Galleria LLC, National Land Resources, L.P., North
         Haven Holdings Limited Partnership, Red Baron Property Resources Limited
         Partnership, Middletown I Resources L.P., JDN Real Estate – Hamilton, L.P., Steven W.
         Thomas to February 1, 2021 at 4:00 p.m. (ET).

         Cure Responses Received:

             A. Cure and Assignment Objection of Metropolitan Knoxville Airport Authority
                [Filed 1/25/21] (Docket No. 928)
             B. Limited Objection to Debtors' Notice to Counterparties to Executory Contracts
                and Unexpired Leases that may be Assumed and Assigned Filed by CBL &
                Associates Management, Inc. [Filed 1/26/21] (Docket No. 936)
             C. Objection to Assumption, Cure Amount and Potential Assignment Filed by Evans
                Holding Company, Festival Gettysburg Associates, LLC, White Realty Company
                [Filed 1/27/21] (Docket No. 943)
             D. Sunshine Realities, LLC’s Objection to Proposed Cure Amount and Proposed
                Assumption and Assignment of Lease [Filed 1/28/21] (Docket No. 952)
             E. Objection of Lenox Outdoor and Advertising, LLC to Assumption, Cure Amount
                and Potential Assignment [Filed 1/28/21] (Docket No. 954)
             F. Chick-Fil-A, Inc.’s Objection and Reservation of Rights to Debtors’ Notice to
                Counterparties to Executory Contracts and Unexpired Leases That May Be
                Assumed and Assigned [Filed 1/28/21] (Docket No. 955)




DOCS_DE:232696.5 76136/002                       2
               Case 20-12456-JTD       Doc 1060     Filed 02/04/21    Page 3 of 20




             G. Limited Objection and Reservation of Rights of Frederick P. Perkins, Brenda P.
                Walsh and Route Ten, LLC in Response to: (1) Debtors’ Amended Chapter 11
                Plan; and (2) Notice to Counterparties to Executory Contracts and Unexpired
                Leases That May Be Assumed and Assigned [Filed 1/28/21] (Docket No. 957)
             H. Landlord HBN-CSC, LLC’s Objection and Reservation of Rights in Response to
                Debtors’ Proposed Assumption and Assignment of Shopping Center Lease in
                Cromwell, Connecticut [Filed 1/28/21] (Docket No. 965)
             I. Ecolab Inc.’s Limited Objection and Reservation of Rights to Debtors’ (I)
                Amended Chapter 11 Plan; and (II) Notice to Counterparties to Executory
                Contracts and Unexpired Leases That May Be Assumed and Assigned [Filed
                1/29/21] (Docket No. 966)
             J. Limited Objection of Beal Commons, LLC to Debtors' Notice to Counterparties
                to Executory Contracts and Unexpired Leases That May Be Assumed and
                Assigned [Filed 1/29/21] (Docket No. 967)
             K. Limited Objection of Meeker Family Limited Partnership and William V. Meeker
                to Debtors' Amended Chapter 11 Plan and Response To Notice To Counterparties
                To Executory Contracts And Unexpired Leases That May Be Assumed And
                Assigned [Filed 1/29/21] (Docket No. 968)
             L. Objection of T&M Limited Liability Company to Debtors' Cure Notice [Filed
                1/29/21] (Docket No. 969)
             M. Objection of Maryville College to Confirmation of Debtors' Amended Chapter 11
                Plan and Objection to Debtors' Assumption and Assignment of Unexpired Lease
                Regarding the RT Lodge [Filed 1/29/21] (Docket No. 971)
             N. Oracle's Limited Objection and Reservation of Rights Regarding Debtors' (1)
                Amended Chapter 11 Plan; and (2) Notice to Counterparties to Executory
                Contracts and Unexpired Leases That May Be Assumed and Assigned [Filed
                1/29/21] (Docket No. 974)
             O. Limited Objection of Wilkinson Langhorne Limited Partnership to the
                Assumption or Assumption and Assignment of the Lease, Cure Amounts,
                Adequate Assurance Demand, and Reservation of Rights [Filed 1/29/21] (Docket
                No. 975)
             P. Limited Objection of Gold Square PA, LLC to Proposed Cure Amount and
                Proposed Assumption and Assignment of Lease and Reservation of Rights [Filed
                1/29/21] (Docket No. 976)
             Q. Objection and Reservation of Rights of Thomas W. and Sandra B. Spears in
                Response to Debtors’ Notice to Counterparties to Executory Contracts and
                Unexpired Leases That May Be Assumed and Assigned [Filed 1/29/21] (Docket
                No. 977)
             R. Cure and Assignment Objection of Marc Lagasse [Filed 1/29/21] (Docket No.
                978)




DOCS_DE:232696.5 76136/002                      3
               Case 20-12456-JTD           Doc 1060      Filed 02/04/21   Page 4 of 20




             S. Objection of Comcast Business Communications, LLC to Debtors’ Notice to
                Counterparties to Executory Contracts and Unexpired Leases That May Be
                Assumed and Assigned and Proposed Cure Amount and Assumption Under
                Executory Contracts and Leases Under Debtors' Amended Chapter 11 Plan and
                Related Proposed Cure [Filed 1/29/21] (Docket No. 982)
             T. Limited Objection and Reservation of Rights of International Fidelity Insurance
                Company in Response to: (1) Debtors' Amended Chapter 11 Plan; and (2) Notice
                to Counterparties to Executory Contracts and Unexpired Leases That May Be
                Assumed and Assigned [Filed 1/29/21] (Docket No. 983)
             U. Objection of RT Henderson, LLC to Assumption, Cure Amount, and Potential
                Assignment [Filed 1/29/21] (Docket No. 984)
             V. Cure Objection by Chester C. Fosgate Company [Filed 1/29/21] (Docket No. 985)
             W. Objection of Potter Properties, LLC to Cure Amount and Limited Objection and
                Reservation of Rights as to Assumption and Assignment of an Unexpired Lease
                of Nonresidential Real Property [Filed 1/29/21] (Docket No. 986)
             X. Limited Objection and Reservation of Rights of Apple Eight SPE Somerset, Inc.
                to the Notice to Counterparties to Executory Contracts and Unexpired Leases that
                may be Assumed and Assigned [Filed 1/29/21] (Docket No. 988)
             Y. Objection of RT Calhoun, LLC to Debtors' Notice to Contract Parties to
                Potentially Assumed Executory Contracts and Unexpired Leases [Filed 1/29/21]
                (Docket No. 990)
             Z. Canal Street Properties, Inc.’s Objection to Assumption of Lease and Proposed
                Cure Amount [Filed 1/29/21] (Docket No. 991)
                             i. Notice of Withdrawal of Objections [Filed 2/3/21] (Docket No. 1049)
           AA. Limited Objection of Brookwoody, LLC to Debtors' Amended Chapter 11 Plan
               and Response to Notice of Counterparties to Executory Contracts and Unexpired
               Leases That May Be Assumed and Assigned [Filed 1/29/21] (Docket No. 994)
           BB. Limited Objection of Fourth Enterprises, LLC to Notice to Counterparties to
               Executory Contracts and Unexpired Leases that May be Assumed and Assigned
               [Filed 1/29/21] (Docket No. 995)
           CC. Limited Objection of Simon Property Group, Inc. to Debtors Notice to
               Counterparties to Executory Contracts and Unexpired Leases that May Be
               Assumed and Assigned [Filed 1/29/21] (Docket No. 996)
           DD. Limited Objection and Reservation of Rights of Silverman Realty Associates LLC
               to (1) Debtors' Amended Chapter 11 Plan; and (2) Debtors' Notice to
               Counterparties to Executory Contracts and Unexpired Leases that May be
               Assumed and Assigned [Filed 1/29/21] (Docket No. 997)
           EE. Limited Objection of Brixmor Operating Partnership LP, CGI 3, LP, DHRT
               INVESTMENTS, LLC, Evergreen Development Company, L.L.C., Gillis Realty
               Trust, MICHAEL L. SHULAR, RCLAN-RT, LLC/JENORA-RT, LLC, Rainier
               Woodlands Square Acquisitions, LLC, SCF RC Funding IV, LLC, STORE


DOCS_DE:232696.5 76136/002                           4
                 Case 20-12456-JTD      Doc 1060     Filed 02/04/21    Page 5 of 20




                  Master Funding XIII, LLC, STORE Master Funding XIV, LLC, STORE SPE
                  Ruby Tuesday 2017-8, LLC to Debtor's Notice To Counterparties To Executory
                  Contracts And Unexpired Leases That May Be Assumed And Assigned [Filed
                  1/29/21] (Docket No. 1003)
           FF. Objection, Joinder and Reservation of Rights to Assumption and Assignment
               Notice and to Debtors' Amended Chapter 11 Plan [Filed 2/1/21] (Docket No.
               1005)
           GG. Objection of National Retail Property, LP; Aston Properties, Inc.; Benderson
               Development Company, LLC; Brookfield Properties Retail, Inc.; Tanger Outlet
               Center, Inc.; Win Properties, Inc.; Regency Centers, LP; And Realty Income
               Corp.s To Proposed Cure Amounts And Assumption And Assignment Of Certain
               Leases Pursuant To Debtors Joint Chapter 11 Plan Of Reorganization [Filed
               2/1/21] (Docket No. 1014)
           HH. Limited Objection and Reservation of Rights of Yu-Ching Hsu to Notice to
               Counterparties to Executory Contracts and Unexpired Leases that May be
               Assumed and Assigned and Joinder to Plan Objections Asserted by Other
               Landlords [Filed 2/1/21] (Docket No. 1017)
           II.    Moody National Ruby T LLC’s Objection to Assumption of Lease and Proposed
                  Cure Amount and Reservation of Rights [Filed 2/2/21] (Docket No. 1033)
           JJ.    Steven W. Thomas, National Realty & Development Corp. And Certain Landlord
                  Affiliates (I) Objection To Notice To Counterparties To Executory Contracts And
                  Unexpired Leases That May Be Assumed And Assigned And (II) Limited
                  Objection To Debtors Amended Chapter 11 Plan And Joinder To Landlord Plan
                  Objections [Filed 2/2/21] (Docket No. 1038)
           KK. Limited Objection and Reservation of Rights of L.F.M. Properties, LLC to Notice
               to Counterparties to Executory Contracts and Unexpired Leases that May be
               Assumed and Assigned and Joinder to Plan Objections Asserted by Other
               Landlords [Filed 2/2/21] (Docket No. 1044)

        Confirmation Responses Received:

             A. Limited Objection and Reservation of Rights of Frederick P. Perkins, Brenda P.
                Walsh and Route Ten, LLC in Response to: (1) Debtors’ Amended Chapter 11
                Plan; and (2) Notice to Counterparties to Executory Contracts and Unexpired
                Leases That May Be Assumed and Assigned [Filed 1/28/21] (Docket No. 957)
             B. Ecolab Inc.’s Limited Objection and Reservation of Rights to Debtors’ (I)
                Amended Chapter 11 Plan; and (II) Notice to Counterparties to Executory
                Contracts and Unexpired Leases That May Be Assumed and Assigned [Filed
                1/29/21] (Docket No. 966)
             C. Limited Objection of Meeker Family Limited Partnership and William V. Meeker
                to Debtors' Amended Chapter 11 Plan and Response To Notice To Counterparties
                To Executory Contracts And Unexpired Leases That May Be Assumed And
                Assigned [Filed 1/29/21] (Docket No. 968)


DOCS_DE:232696.5 76136/002                       5
               Case 20-12456-JTD           Doc 1060      Filed 02/04/21   Page 6 of 20




             D. Objection of Maryville College to Confirmation of Debtors' Amended Chapter 11
                Plan and Objection to Debtors' Assumption and Assignment of Unexpired Lease
                Regarding the RT Lodge [Filed 1/29/21] (Docket No. 971)
             E. Oracle's Limited Objection and Reservation of Rights Regarding Debtors' (1)
                Amended Chapter 11 Plan; and (2) Notice to Counterparties to Executory
                Contracts and Unexpired Leases That May Be Assumed and Assigned [Filed
                1/29/21] (Docket No. 974)
             F. Limited Objection of Comcast Business Communications, LLC to Confirmation
                of Debtors’ Amended Plan and Reservation of Rights [Filed 1/29/21] (Docket No.
                980)
             G. Limited Objection and Reservation of Rights to Article VIII (Procedures
                Concerning Contingent, Unliquidated And Disputed Claims) of Debtors Amended
                Chapter 11 Plan Filed by Keith E. Adams and Kim D. Adams, as Trustees of the
                Adams Family Trust [Filed 1/29/21] (Docket No. 981)
             H. Objection of Comcast Business Communications, LLC to Debtors’ Notice to
                Counterparties to Executory Contracts and Unexpired Leases That May Be
                Assumed and Assigned and Proposed Cure Amount and Assumption Under
                Executory Contracts and Leases Under Debtors' Amended Chapter 11 Plan and
                Related Proposed Cure [Filed 1/29/21] (Docket No. 982)
             I. Limited Objection and Reservation of Rights of International Fidelity Insurance
                Company in Response to: (1) Debtors' Amended Chapter 11 Plan; and (2) Notice
                to Counterparties to Executory Contracts and Unexpired Leases That May Be
                Assumed and Assigned [Filed 1/29/21] (Docket No. 983)
             J. Canal Street Properties, Inc.’s Limited Objection to Confirmation [Filed 1/29/21]
                (Docket No. 989)
                             i. Notice of Withdrawal of Objections [Filed 2/3/21] (Docket No. 1049)
             K. Limited Objection and Reservation of Rights of Quadre Investments, L.P. and
                Powell Anderson Capital, L.P. to the First Amended Joint Chapter 11 Plan of
                Ruby Tuesday, Inc. and Its Debtor Affiliates [Filed 1/29/21] (Docket No. 992)
             L. Limited Objection of Various Landlords to Debtors’ Amended Chapter 11 Plan
                Filed by STORE SPE Ruby Tuesday 2017-8, LLC, STORE Master Funding XIV,
                LLC, STORE Master Funding XIII, LLC, MICHAEL L. SHULAR, Evergreen
                Development Company, L.L.C., EDENS, Bennett Partners, L.L.L.P., Brixmor
                Operating Partnership LP, CGI 3, LP, DHRT INVESTMENTS, LLC, Federal
                Realty Investment Trust, Gillis Realty Trust, RCLAN-RT, LLC/JENORA-RT,
                LLC, Rainier Woodlands Square Acquisitions, LLC, SCF RC Funding IV, LLC
                [Filed 1/29/21] (Docket No. 993)
             M. Limited Objection of Brookwoody, LLC to Debtors' Amended Chapter 11 Plan
                and Response to Notice of Counterparties to Executory Contracts and Unexpired
                Leases That May Be Assumed and Assigned [Filed 1/29/21] (Docket No. 994)
             N. Limited Objection and Reservation of Rights of Silverman Realty Associates LLC
                to (1) Debtors' Amended Chapter 11 Plan; and (2) Debtors' Notice to


DOCS_DE:232696.5 76136/002                           6
               Case 20-12456-JTD       Doc 1060     Filed 02/04/21    Page 7 of 20




                 Counterparties to Executory Contracts and Unexpired Leases that May be
                 Assumed and Assigned [Filed 1/29/21] (Docket No. 997)
             O. BNA Associates, LLC's Objection to Confirmation of Plan and Cancellation of
                Sale and Joinder [Filed 1/29/21] (Docket No. 998)
             P. Liberty Mutual Insurance Company’s Limited Objection to Debtors' Amended
                Chapter 11 Plan [Filed 1/29/21] (Docket No. 1002)
             Q. Objection, Joinder and Reservation of Rights to Assumption and Assignment
                Notice and to Debtors' Amended Chapter 11 Plan [Filed 2/1/21] (Docket No.
                1005)
             R. Objection of National Retail Property, LP; Aston Properties, Inc.; Benderson
                Development Company, LLC; Brookfield Properties Retail, Inc.; Tanger Outlet
                Center, Inc.; Win Properties, Inc.; Regency Centers, LP; And Realty Income
                Corp.’s To Proposed Cure Amounts And Assumption And Assignment Of Certain
                Leases Pursuant To Debtors Joint Chapter 11 Plan Of Reorganization [Filed
                2/1/21] (Docket No. 1014)
             S. Limited Objection and Reservation of Rights of Yu-Ching Hsu to Notice to
                Counterparties to Executory Contracts and Unexpired Leases that May be
                Assumed and Assigned and Joinder to Plan Objections Asserted by Other
                Landlords [Filed 2/1/21] (Docket No. 1017)
             T. Moody National Ruby T LLC’s Limited Objection to Confirmation [Filed 2/2/21]
                (Docket No. 1032)
             U. Steven W. Thomas, National Realty & Development Corp. And Certain Landlord
                Affiliates (I) Objection To Notice To Counterparties To Executory Contracts And
                Unexpired Leases That May Be Assumed And Assigned And (II) Limited
                Objection To Debtors Amended Chapter 11 Plan And Joinder To Landlord Plan
                Objections [Filed 2/2/21] (Docket No. 1038)
             V. Limited Objection and Reservation of Rights of L.F.M. Properties, LLC to Notice
                to Counterparties to Executory Contracts and Unexpired Leases that May be
                Assumed and Assigned and Joinder to Plan Objections Asserted by Other
                Landlords [Filed 2/2/21] (Docket No. 1044)

        Related Documents:

             A. Debtors' Chapter 11 Plan [Filed 11/6/20] (Docket No. 353)
             B. Disclosure Statement for Debtors' Chapter 11 Plan [Filed 11/6/20] (Docket No.
                354)
             C. [Signed] Order (A) Approving Bid Procedures for the Sale of the Debtors' Assets,
                (B) Approving Certain Bidder Incentives in Connection with the Debtors' Entry
                Into a Stalking Horse Agreement, If Any, and (C) Approving Procedures for the
                Assumption and Assignment of Executory Contracts and Unexpired Leases [Filed
                11/20/20] (Docket No. 585)
             D. Notice of Sale By Auction and Bid Procedures [Filed 11/20/20] (Docket No. 586)


DOCS_DE:232696.5 76136/002                      7
               Case 20-12456-JTD      Doc 1060      Filed 02/04/21    Page 8 of 20




             E. Notice to Counterparties to Executory Contracts and Unexpired Leases That May
                be Assumed and Assigned [Filed 12/14/20] (Docket No. 723)
             F. [Signed] Order (I) Approving The Disclosure Statement; (II) Scheduling
                Confirmation Hearing; (III) Approving Form And Manner Of Notice Of
                Confirmation Hearing; (IV) Establishing Procedures For Solicitation And
                Tabulation Of Votes To Accept Or Reject Plan, Including (A) Approving Form
                And Content Of Solicitation Package; (B) Establishing Record Date And
                Approving Procedures For Distribution Of Solicitation Packages; (C) Approving
                Forms Of Ballots; (D) Establishing Voting Deadline For Receipt Of Ballots And
                (E) Approving Procedures For Vote Tabulations; (V) Establishing Deadline And
                Procedures For Filing Objections To Confirmation Of Plan; And (VI) Granting
                Related Relief [Filed 12/21/20] (Docket No. 759)
             G. Disclosure Statement for Debtors' Amended Chapter 11 Plan [Filed 12/21/20]
                (Docket No. 762)
             H. Notice of (A) Hearing to Consider Confirmation of Debtors' Amended Chapter 11
                Plan; (B) Deadline for Voting to Accept or Reject Plan; and (C) Related Matters
                [Filed 12/21/20] (Docket No. 763)
             I. Notice of Filing of Proof of Publication of The New York Times with Respect to
                Notice of (A) Hearing to Consider Confirmation of Debtors Amended Chapter 11
                Plan; (B) Deadline For Voting to Accept Or Reject Plan; and (C) Related Matters
                [Filed 1/13/21] (Docket No. 857)
             J. Notice of Non-Receipt of Topping Bid and Cancelation of Auction [Filed
                1/18/21] (Docket No. 886
             K. Plan Supplement [Filed 1/22/21] (Docket No. 920)
             L. Notice of Filing Plan Supplement [Filed 1/22/21] (Docket No. 921)
             M. Notice of Rescheduled Hearing to Consider Confirmation of the Debtors'
                Amended Chapter 11 Plan [Filed 2/2/21] (Docket No. 1034)

        Status: This matter is being adjourned to the hearing scheduled for February 10, 2021 at
        10:00 a.m. (ET).

RESOLVED MATTERS:

2.      Motion to Compel Compliance With Lease Of Non-Residential Real Property, Including
        Payment Of Post-Petition Rent And Taxes, Or, In The Alternative, Rejection, And
        Related Relief Filed by 434 King Street LLC [Filed 12/30/20] (Docket No. 799)

        Response Deadline: January 15, 2021 at 4:00 p.m. (ET).

        Responses Received:

             A. Debtors' Opposition to 434 King Street LLC's Motion to Compel Compliance
                with Lease of Non-Residential Real Property, Including Payment of Post-Petition



DOCS_DE:232696.5 76136/002                      8
               Case 20-12456-JTD        Doc 1060      Filed 02/04/21     Page 9 of 20




                 Rent and Taxes, or, in the Alternative, Rejection, and Related Relief [Filed
                 1/15/21] (Docket No. 877)

        Related Documents:

             A. Certification of Counsel Regarding Proposed Consent Order Re 434 King Street
                LLC's Motion To Compel Compliance With Lease Of Non-Residential Real
                Property, Including Payment Of Post-Petition Rent And Taxes, Or, In The
                Alternative, Rejection, And Related Relief [Filed 2/1/21] (Docket No. 1008)

             B. [Signed] Consent Order Re 434 King Street LLC's Motion To Compel
                Compliance With Lease Of Non-Residential Real Property, Including Payment Of
                Post-Petition Rent And Taxes, Or, In The Alternative, Rejection, And Related
                Relief [Filed 2/1/21] (Docket No. 1010)

        Status: The Court has entered the order on this matter and it is now resolved.

3.      Debtors’ Objection for Voting Purposes to Proofs of Claim Nos. 10103, 10104 and 10105
        Filed by Quadre Investments, L.P. [Filed 1/5/21] (Docket No. 819)

        Response Deadline: January 19, 2021 at 4:00 p.m. (ET).

        Responses Received:

             A. Reservation of Rights of Quadre Investments, L.P. to the Debtors' Objection for
                Voting Purposes to Proofs of Claim Nos. 10103, 10104 and 10105 Filed By
                Quadre Investments, L.P. [Filed 1/19/21] (Docket No. 890)

        Related Documents:

             A. Debtors' Request for Judicial Notice in Support of Debtor's Objection for Voting
                Purposes to Proofs of Claim Nos. 10103, 10104 and 10105 Filed by Quadre
                Investments, L.P. [Filed 1/5/21] (Docket No. 821)

             B. Certification of No Objection Regarding Debtor's Objection for Voting Purposes
                to Proofs of Claim Nos. 10103, 10104 and 10105 Filed by Quadre Investments,
                L.P. [Filed 2/1/21] (Docket No. 1021)

             C. [Signed] Order re: Debtors Objection for Voting Purposes to Proofs of Claim
                Nos. 10103, 10104 and 10105 Filed by Quadre Investments, L.P. [Filed 2/2/21]
                (Docket No. 1030)

        Status: The Court has entered the order on this matter and it is now resolved.

4.      Debtors’ Objection for Voting Purposes to Proofs of Claim Nos. 10425 and 10426 Filed
        By Lawrence N. Lebow [Filed 1/5/21] (Docket No. 820)

        Response Deadline: January 19, 2021 at 4:00 p.m. (ET).


DOCS_DE:232696.5 76136/002                        9
              Case 20-12456-JTD       Doc 1060       Filed 02/04/21    Page 10 of 20




        Responses Received: None.

        Related Documents:

             A. Request For Judicial Notice In Support Of Debtors Objection For Voting
                Purposes To Proofs Of Claim Nos. 10425 And 10426 Filed By Lawrence N.
                Lebow [Filed 1/5/21] (Docket No. 822)
             B. [Signed] Order Re: Debtors' Objection for Voting Purposes to Proofs of Claim
                Nos. 10425 and 10426 Filed By Laurence N. Lebow [Filed 1/28/21] (Docket No.
                964)

        Status: The Court has entered the order on this matter and it is now resolved.

5.      Debtors’ Objection for Voting Purposes to Proofs of Claim Nos. 10423 and 10424 Filed
        by Miriam Roth [Filed 1/5/21] (Docket No. 823)

        Response Deadline: January 19, 2021 at 4:00 p.m. (ET).

        Responses Received: None.

        Related Documents:

             A. Request For Judicial Notice In Support Of Debtors Objection For Voting
                Purposes To Proofs Of Claim Nos. 10423 And 10424 Filed By Miriam Roth
                [Filed 1/5/21] (Docket No. 825)
             B. [Signed] Order Re: Debtors' Objection for Voting Purposes to Proofs of Claim
                Nos. 10423 and 10424 Filed by Miriam Roth [Filed 1/28/21] (Docket No. 963)

        Status: The Court has entered the order on this matter and it is now resolved.

6.      Debtors’ Objection for Voting Purposes to Proofs of Claim Nos. 10421 and 10422 Filed
        By Jonathan Lebow [Filed 1/5/21] (Docket No. 824)

        Response Deadline: January 19, 2021 at 4:00 p.m. (ET).

        Responses Received: None.

        Related Documents:

             A. Request for Judicial Notice in Support of Debtors' Objection for Voting Purposes
                to Proofs of Claim Nos. 10421 and 10422 Filed by Jonathan Lebow [Filed 1/5/21]
                (Docket No. 826)
             B. [Signed] Order Re: Debtors' Objection for Voting Purposes to Proofs of Claim
                Nos. 10421 and 10422 Filed By Jonathan Lebow [Filed 1/28/21] (Docket No.
                962)
        Status: The Court has entered the order on this matter and it is now resolved.



DOCS_DE:232696.5 76136/002                      10
              Case 20-12456-JTD        Doc 1060       Filed 02/04/21    Page 11 of 20




7.      Motion of Wilkinson Langhorne Limited Partnership to Compel Compliance with 11
        U.S.C. § 365(d)(3) [Filed 1/6/21] (Docket No. 834)

        Response Deadline: January 15, 2021 at 4:00 p.m. (ET).

        Responses Received:

             A. Debtors' Opposition to Motion of Wilkinson Langhorne Limited Partnership to
                Compel Compliance With 11 U.S.C. §365(d)(3) [Filed 1/15/21] (Docket No. 883)

        Related Documents: None.

        Status: The lease that is the subject of this motion has been rejected and this matter is
        now moot. A hearing is no longer necessary on this matter.

8.      Motion of Stafford RT, LLC for Allowance and Payment of an Administrative Expenses
        Claim Pursuant to 11 U.S.C. § 503(b) [Filed 1/13/21] (Docket No. 861)

        Response Deadline: January 27, 2021 at 4:00 p.m. (ET). Extended for the Debtors to
        January 29, 2021 at 4:00 p.m. (ET).

        Responses Received: Informal comments of the Debtors.

        Related Documents:

        Status: This matter has been resolved and a proposed form of order resolving this motion
        will be submitted to the Court.

9.      Debtors' Motion for Order (I) Approving Private Sale of Certain Non-Core Assets (Real
        Property Located in Valrico, Florida) Free and Clear of Liens, Claims and Interests
        Thereunder and (II) Granting Related Relief [Filed 1/14/21] (Docket No. 870)

        Response Deadline: January 28, 2021 at 4:00 p.m. (ET).

        Responses Received: None.

        Related Documents:

             A. Exhibit C to Debtors' Motion for Order (I) Approving Private Sale of Certain
                Non-Core Assets (Real Property Located in Valrico, Florida) Free and Clear of
                Liens, Claims and Interests Thereunder and (II) Granting Related Relief [Filed
                1/14/21] (Docket No. 872)
             B. Certification of No Objection to Debtors' Motion for Order (I) Approving Private
                Sale of Certain Non-Core Assets (Real Property Located in Valrico, Florida) Free
                and Clear of Liens, Claims and Interests Thereunder and (II) Granting Related
                Relief [Filed 1/29/21] (Docket No. 999)




DOCS_DE:232696.5 76136/002                       11
              Case 20-12456-JTD       Doc 1060       Filed 02/04/21    Page 12 of 20




             C. [Signed] Order (I) Approving Private Sale of Certain Non-Core Assets (Real
                Property Located in Valrico, Florida) Free and Clear of Liens, Claims and
                Interests Thereunder and (II) Granting Related Relief [Filed 2/1/21] (Docket No.
                1006)

        Status: The Court has entered the order on this matter and it is now resolved.

10.     Application for an Order Pursuant to 11 U.S.C. §§ 327 and 328(a), Fed. R. Bankr. P.
        2014 and 5002, and Local Rule 2014-1, Authorizing the Retention and Employment of
        Realtyone Tampa Real Estate, LLC dba SVN Coastal Commercial Advisors as Real
        Estate Broker for the Debtors and Approving Payment of Commission and Expenses
        [Filed 1/14/21] (Docket No. 871)

        Response Deadline: January 28, 2021 at 4:00 p.m. (ET).

        Responses Received: Informal comments of the U.S. Trustee.

        Related Documents:

             A. Certification of Counsel Regarding Application for an Order Pursuant to 11
                U.S.C. §§ 327 and 328(a), Fed. R. Bankr. P. 2014 and 5002, and Local Rule
                2014-1, Authorizing the Retention and Employment of Realtyone Tampa Real
                Estate, LLC dba SVN Coastal Commercial Advisors as Real Estate Broker for the
                Debtors and Approving Payment of Commission and Expenses [Filed 1/29/21]
                (Docket No. 1000)

             B. [Signed] Order Pursuant to 11 U.S.C. §§ 327 and 328(a), Fed. R. Bankr. P. 2014
                and 5002, and Local Rule 2014-1, Authorizing the Retention and Employment of
                Realtyone Tampa Real Estate, LLC dba SVN Coastal Commercial Advisors as
                Real Estate Broker for the Debtors and Approving Payment of Commission and
                Expenses [Filed 2/1/21] (Docket No. 1007)

        Status: The Court has entered the order on this matter and it is now resolved.

11.     Motion of Dante Mastroianni for Relief from Automatic Stay Pursuant to 11 U.S.C. §
        362(d) [Filed 1/21/21] (Docket No. 905)

        Response Deadline: January 28, 2021 at 4:00 p.m. (ET).

        Responses Received: None.

        Related Documents:

             A. Notice of Withdrawal of Document [Filed 1/27/21] (Docket No. 944]

        Status: This motion has been withdrawn and a hearing is no longer necessary on this
        matter.



DOCS_DE:232696.5 76136/002                      12
              Case 20-12456-JTD       Doc 1060       Filed 02/04/21    Page 13 of 20




12.     Motion for an Order Granting Limited Relief from the Automatic Stay to Collect Court
        Ordered Fee Sanctions Against Non-Debtor Filed by Quadre Investments, L.P. [Filed
        1/21/21] (Docket No. 911)

        Response Deadline: January 28, 2021 at 4:00 p.m. (ET).

        Responses Received: Informal comments from NRD Partners II, L.P.

        Related Documents:

             A. Certification of Counsel Regarding Order Granting Motion for Limited Relief
                from the Automatic Stay to Collect Court Ordered Fee Sanctions Against Non-
                Debtor NRD Partners II, L.P. [Filed 2/1/21] (Docket No. 1015)

             B. [Signed] Order Granting Motion for Limited Relief from the Automatic Stay to
                Collect Court Ordered Fee Sanctions Against Non-Debtor NRD Partners II, L.P.
                [Filed 2/2/21] (Docket No. 1029)

        Status: The Court has entered the order on this matter and it is now resolved.

13.     In re: Ruby Tuesday, Inc. against 434 King Street, LLC, Adv. Proc. Case No. 20-51048
        (JTD): Debtors’ Motion For Partial Summary Judgment Regarding First Claim For Relief
        Asserted In Complaint For Declaratory Relief [Filed 12/21/20] (Adv. Docket No. 4)

        Response Deadline: January 15, 2021

        Responses Received:

             A. Defendant’s Motion to Dismiss Complaint or for More Definite Statement [Filed
                1/15/21] (Adv. Docket No. 9)
             B. Combined (I) Answering Brief in Opposition to Plaintiff's Motion for Partial
                Summary Judgment Regarding First Claim for Relief Asserted in Complaint for
                Declaratory Relief, and (II) Opening Brief In Support of Motion to Dismiss
                Complaint or for More Definite Statement [Filed 1/15/21] (Adv. Docket No. 10)

        Related Documents:

             A. [Signed] Scheduling Order Re: Abatement Litigation [Filed 12/9/20] (Docket No.
                689)
             B. Complaint for Declaratory Relief [Filed 12/14/20] (Adv. Docket No. 1)
             C. Summons and Notice of Pretrial Conference [Filed 12/14/20] (Adv. Docket No.
                2)
             D. Debtors’ Opening Brief in Support of Motion for Partial Summary Judgment
                Regarding First Claim for Relief Asserted in Complaint for Declaratory Relief
                [Filed 12/21/20] (Adv. Docket No. 5)



DOCS_DE:232696.5 76136/002                      13
              Case 20-12456-JTD          Doc 1060      Filed 02/04/21   Page 14 of 20




             E. Declaration of Shawn Lederman, Chief Executive Officer, in Support of Debtors
                Motion for Partial Summary Judgment Regarding First Claim for Relief Asserted
                in Complaint for Declaratory Relief [Filed 12/21/20] (Adv. Docket No. 6)
             F. Appendix of Exhibits in Support of Debtors Motion for Partial Summary
                Judgment Regarding First Claim for Relief Asserted in Complaint for Declaratory
                Relief [Filed 12/21/20] (Adv. Docket No. 7)
             G. Status Report Regarding Hearing on Debtor's Motion for Partial Summary
                Judgment Regarding First Claim for Relief Asserted in Complaint for Declaratory
                Relief [Filed 1/27/21] (Adv. Docket No. 12)

        Status: This matter has been resolved. Under the terms of the [Signed] Consent Order Re
        434 King Street LLC's Motion To Compel Compliance With Lease Of Non-Residential
        Real Property, Including Payment Of Post-Petition Rent And Taxes, Or, In The
        Alternative, Rejection, And Related Relief [Filed 2/1/21] (Docket No. 1010), the parties
        will submit a stipulation to dismiss this proceeding.


CONTESTED MATTERS GOING FORWARD:

14.     Second Notice to Reject Certain Executory Contracts and Unexpired Non-Residential
        Real Property Leases [Filed 12/16/20] (Docket No. 737)

        Response Deadline: December 30, 2020 at 4:00 p.m. (ET).

        Responses Received:

             A. Response by Kallioppi, LLC, Opposing Rejection of Alleged Executory Contract
                [Filed 12/30/20] (Docket No. 791)

                             i. Appendix of Exhibits in Connection with Hearing on Response by
                                Kallioppi, LLC, Opposing Rejection of Alleged Executory
                                Contract [Filed 2/3/21] (Docket No. 1057)

        Related Documents: None.

        Reply Deadline: January 15, 2021

        Reply:

             A. Debtors' Reply in Support of Second Notice to Reject Certain Executory
                Contracts and Unexpired Non-Residential Real Property Leases (Kallioppi, LLC)
                [Filed 1/15/21] (Docket No. 882)

        Status: Shawn Lederman, CEO of the Debtors, will be the Debtors’ witness in support of
        their opposition. This matter will be going forward. Kallioppi has indicated that it may
        present some or all of the following witnesses: Harry Dematatis, Jay Donegan, Greg
        Ross.


DOCS_DE:232696.5 76136/002                        14
              Case 20-12456-JTD        Doc 1060       Filed 02/04/21   Page 15 of 20




15.     Motion of Aston Properties, Inc. to Compel Compliance with 11 U.S.C. § 365(d)(3)
        [Filed 12/14/20] (Docket No. 720)

        Response Deadline: December 28, 2020 at 4:00 p.m. (ET). Extended for the Debtors.

        Responses Received:

             A. Debtors' Opposition to Motion of Aston Properties, Inc. to Compel Compliance
                With 11 U.S.C. § 365(d)(3) [Filed 1/15/21] (Docket No. 881)

        Related Documents:

             A. Notice of Withdrawal of Aston Properties, Inc.'s Motion to Compel
                Compliance with 11 U.S.C. § 365(d)(3) [Filed 2/3/21] (Docket No. 1052)

        Status: This motion has been withdrawn and a hearing is no longer necessary on this
        matter.

16.     Motion to Compel Compliance With Lease Of Non-Residential Real Property, Including
        Payment Of Post-Petition Rent And Taxes, Or, In The Alternative, Rejection, And
        Related Relief Filed by Moody National Companies [Filed 12/30/20] (Docket No. 800)

        Response Deadline: January 15, 2021 at 4:00 p.m. (ET).

        Responses Received:

             A. Debtors' Opposition to Moody National Ruby T, LLC's Motion to Compel
                Compliance with Lease of Non-Residential Real Property, Including Payment of
                Post-Petition Rent and Taxes, or, in the Alternative, Rejection, and Related Relief
                [Filed 1/15/21] (Docket No. 878)

        Related Documents: None.

        Status: This matter is being adjourned to the hearing scheduled for February 10, 2021 at
        10:00 a.m. (ET).

17.     Motion to Compel Compliance With Lease Of Non-Residential Real Property, Including
        Payment Of Post-Petition Rent And Taxes, Or, In The Alternative, Rejection, And
        Related Relief Filed by Canal Street Properties, Inc. [Filed 12/30/20] (Docket No. 801)

        Response Deadline: January 15, 2021 at 4:00 p.m. (ET).

        Responses Received:

             A. Debtors' Opposition to Canal Street Properties Inc.'s Motion to Compel
                Compliance with Lease of Non-Residential Real Property, Including Payment of
                Post-Petition Rent and Taxes, or, in the Alternative, Rejection, and Related Relief
                [Filed 1/15/21] (Docket No. 879)



DOCS_DE:232696.5 76136/002                       15
              Case 20-12456-JTD       Doc 1060       Filed 02/04/21    Page 16 of 20




        Related Documents:

             A. Certification of Counsel Regarding Proposed Consent Order Re Canal Street
                Properties, Inc.'s Motion To Compel Compliance With Lease Of Non-Residential
                Real Property, Including Payment Of Post-Petition Rent And Taxes, Or, In The
                Alternative, Rejection, And Related Relief [Filed 2/2/21] (Docket No. 1045)

             B. [Signed] Consent Order: Re Canal Street Properties, Inc.'s Motion To Compel
                Compliance With Lease Of Non-Residential Real Property, Including Payment Of
                Post-Petition Rent And Taxes, Or, In The Alternative, Rejection, And Related
                Relief [Filed 2/3/21] (Docket No. 1047)

        Status: The Court has entered the order on this matter and it is now resolved.

18.     Motion of Yu-Ching Hsu for an Order: (A) Compelling Immediate Payment of
        Administrative Claim; (B) Compelling Rejection of Lease and Surrender Possession of
        the Premises; (C) Granting Relief from Stay; and (D) Granting Related Relief [Filed
        1/8/21] (Docket No. 844)

        Response Deadline: January 15, 2021 at 4:00 p.m. (ET).

        Responses Received:

             A. Debtors' Opposition to Motion of Yu-Ching Hsu for an Order: (A) Compelling
                Immediate Payment of Administrative Claim; (B) Compelling Rejection of Lease
                and Surrender Possession of the Premises; (C) Granting Relief from Stay; and (D)
                Granting Related Relief [Filed 1/15/21] (Docket No. 880)

        Related Documents:

             A. Certification of Counsel Regarding Order Granting Motion of Yu-Ching Hsu
                for an Order (A) Compelling Immediate Payment of Administrative Claim;
                (B) Compelling Rejection of Lease and Surrender of Possession of the
                Premises; (C) Granting Relief from Stay; and (D) Granting Related Relief
                [Filed 2/3/21] (Docket No. 1054)

        Status: This matter is resolved. The movant has filed a proposed form of order under
        certification of counsel for the Court’s consideration.

19.     Debtors' Motion for Entry of an Order (I) Extending the Deadline By Which the Debtors
        Must Assume or Reject Unexpired Leases of Nonresidential Real Property and (II)
        Granting Related Relief [Filed 1/22/21] (Docket No. 917)

        Response Deadline: January 29, 2021 at 4:00 p.m. (ET). Extended for Moody National
        Companies to February 1, 2021 at 4:00 p.m. (ET).




DOCS_DE:232696.5 76136/002                      16
              Case 20-12456-JTD             Doc 1060     Filed 02/04/21   Page 17 of 20




        Responses Received:

             A. Chick-fil-A, Inc.'s Objection to Debtors' Motion for Entry of an Order (I)
                Extending the Deadline By Which the Debtors Must Assume or Reject Unexpired
                Leases of Nonresidential Real Property and (II) Granting Related Relief [Filed
                1/29/21] (Docket No. 979)
             B. Canal Street Properties, Inc.’s Objection to Debtors' Motion For Entry Of An
                Order (I) Extending The Deadline By Which The Debtors Must Assume Or
                Reject Unexpired Leases Of Nonresidential Real Property And (II) Granting
                Related Relief [Filed 1/29/21] (Docket No. 987)
                             i. Notice of Withdrawal of Objections [Filed 2/3/21] (Docket No. 1049)
             C. Moody National Ruby T LLC’s Limited Objection to Debtors' Motion For Entry
                of an Order (I) Extending the Deadline By Which the Debtors Must Assume or
                Reject Unexpired Leases of Nonresidential Real Property and (II) Granting
                Related Relief [Filed 2/2/21] (Docket No. 1039)
                             i. Withdrawn
             D. Joinder of Silverman Realty Associates LLC to Chick-fil-A, Inc.'s Objection
                to Debtors' Motion for Entry of an Order (I) Extending the Deadline By
                Which the Debtors Must Assume or Reject Unexpired Leases of
                Nonresidential Real Property and (II) Granting Related Relief [Filed 2/3/21]
                (Docket No. 1055)

        Related Documents:

             A. [Signed] Order Granting Debtors' Motion to Shorten Notice Period and Schedule
                Hearing on Debtors' Motion for Entry of an Order (I) Extending the Deadline By
                Which the Debtors Must Assume or Reject Unexpired Leases of Nonresidential
                Real Property and (II) Granting Related Relief [Filed 1/25/21] (Docket No. 926)
             B. Notice of Hearing on Debtors' Motion for Entry of an Order (I) Extending the
                Deadline By Which the Debtors Must Assume or Reject Unexpired Leases of
                Nonresidential Real Property and (II) Granting Related Relief [Filed 1/25/21]
                (Docket No. 929)

        Status: Shawn Lederman, CEO of the Debtors, will be the Debtors’ witness in support of
        their Motion. This matter will be going forward. The objections filed by Canal Street
        Properties, Inc. and Moody National Ruby T LLC have been withdrawn.

ADVERSARY PROCEEDINGS:

In re: Ruby Tuesday, Inc. against Evergreen Development Company, L.L.C., Adv. Proc. Case
No. 20-51045 (JTD)

20.     Debtors’ Motion For Partial Summary Judgment Regarding First Claim For Relief
        Asserted In Complaint For Declaratory Relief [Filed 12/21/20] (Adv. Docket No. 4)



DOCS_DE:232696.5 76136/002                          17
              Case 20-12456-JTD           Doc 1060       Filed 02/04/21   Page 18 of 20




        Response Deadline: January 15, 2021

        Responses Received:

             A. Answer, Affirmative Defenses, and Counterclaims of Defendant Evergreen
                Development Company, L.L.C. in Response to Complaint for Declaratory Relief
                [Filed 1/15/21] (Adv. Docket No. 9)
             B. Evergreen Development Company, L.L.C.’s Brief in Response to Motion For
                Partial Summary Judgment Regarding First Claim For Relief Asserted In
                Complaint For Declaratory Relief and in Support of Cross Motion for Summary
                Judgment [Filed 1/15/21] (Adv. Docket No. 11)

                             i. Declaration of Robert Kubicki in Support of Evergreen Development
                                Company, L.L.C.’s Brief in Response to Motion For Partial Summary
                                Judgment Regarding First Claim For Relief Asserted In Complaint For
                                Declaratory Relief and in Support of Cross Motion for Summary
                                Judgment [Filed 1/15/21] (Adv. Docket No. 13)

        Related Documents:

             A. [Signed] Scheduling Order Re: Abatement Litigation [Filed 12/9/20] (Docket No.
                689)
             B. Complaint for Declaratory Relief [Filed 12/14/20] (Adv. Docket No. 1)
             C. Summons and Notice of Pretrial Conference [Filed 12/14/20] (Adv. Docket No.
                2)
             D. Debtors’ Opening Brief in Support of Motion for Partial Summary Judgment
                Regarding First Claim for Relief Asserted in Complaint for Declaratory Relief
                [Filed 12/21/20] (Adv. Docket No. 5)
             E. Declaration of Shawn Lederman, Chief Executive Officer, in Support of Debtors
                Motion for Partial Summary Judgment Regarding First Claim for Relief Asserted
                in Complaint for Declaratory Relief [Filed 12/21/20] (Adv. Docket No. 6)
             F. Appendix of Exhibits in Support of Debtors Motion for Partial Summary
                Judgment Regarding First Claim for Relief Asserted in Complaint for Declaratory
                Relief [Filed 12/21/20] (Adv. Docket No. 7)
             G. Cross-Motion of Evergreen Development Company, L.L.C. for Summary
                Judgment [Filed 1/15/21] (Adv. Docket No. 10)
             H. Status Report Regarding Hearing on Debtor's Motion for Partial Summary
                Judgment Regarding First Claim for Relief Asserted in Complaint for Declaratory
                Relief [Filed 1/22/21] (Adv. Docket No. 15)

        Status: This matter is being adjourned to the hearing scheduled for February 10, 2021 at
        10:00 a.m. (ET).




DOCS_DE:232696.5 76136/002                          18
              Case 20-12456-JTD       Doc 1060       Filed 02/04/21   Page 19 of 20




In re: Ruby Tuesday, Inc. against Moody National Ruby T, LLC, Adv. Proc. Case No. 20-51046
(JTD)

21.     Debtors’ Motion For Partial Summary Judgment Regarding First Claim For Relief
        Asserted In Complaint For Declaratory Relief [Filed 12/21/20] (Adv. Docket No. 4)

        Response Deadline: January 15, 2021

        Responses Received:

             A. Defendant’s Answer, Affirmative Defenses and Counterclaim to Complaint for
                Declaratory Relief [Filed 1/15/21] (Adv. Docket No. 9)
             B. Answering Brief in Opposition to Debtor's Motion for Partial Summary Judgment
                Regarding First Claim for Relief Asserted in Complaint for Declaratory Relief
                [Filed 1/15/21] (Adv. Docket No. 12)

        Related Documents:

             A. [Signed] Scheduling Order Re: Abatement Litigation [Filed 12/9/20] (Docket No.
                689)
             B. Complaint for Declaratory Relief [Filed 12/14/20] (Adv. Docket No. 1)
             C. Summons and Notice of Pretrial Conference [Filed 12/14/20] (Adv. Docket No.
                2)
             D. Debtors’ Opening Brief in Support of Motion for Partial Summary Judgment
                Regarding First Claim for Relief Asserted in Complaint for Declaratory Relief
                [Filed 12/21/20] (Adv. Docket No. 5)
             E. Declaration of Shawn Lederman, Chief Executive Officer, in Support of Debtors
                Motion for Partial Summary Judgment Regarding First Claim for Relief Asserted
                in Complaint for Declaratory Relief [Filed 12/21/20] (Adv. Docket No. 6)
             F. Appendix of Exhibits in Support of Debtors Motion for Partial Summary
                Judgment Regarding First Claim for Relief Asserted in Complaint for Declaratory
                Relief [Filed 12/21/20] (Adv. Docket No. 7)
             G. Motion Pursuant to Fed. R. Civ. P. 56(d) Seeking Denial or Continuance of
                Plaintiff's Motion for Partial Summary Judgment [Filed 1/15/21] (Adv. Docket
                No. 10)
             H. Opening Brief in Support of Motion Pursuant to Fed. R. Civ. P. 56(d) Seeking
                Denial or Continuance of Plaintiff's Motion for Partial Summary Judgment [Filed
                1/15/21] (Adv. Docket No. 11)
             I. Status Report Regarding Hearing on Debtor's Motion for Partial Summary
                Judgment Regarding First Claim for Relief Asserted in Complaint for Declaratory
                Relief [Filed 1/22/21] (Adv. Docket No. 13)



DOCS_DE:232696.5 76136/002                      19
              Case 20-12456-JTD       Doc 1060       Filed 02/04/21   Page 20 of 20




        Status: This matter is being adjourned to the hearing scheduled for February 10, 2021 at
        10:00 a.m. (ET).



Dated: February 4, 2021                      PACHULSKI STANG ZIEHL & JONES LLP
Wilmington, Delaware

                                             /s/ James E. O’Neill
                                             Richard M. Pachulski (CA Bar No. 90073)
                                             Malhar S. Pagay (CA Bar No. 189289)
                                             James E. O’Neill (Bar No. 4042)
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DOCS_DE:232696.5 76136/002                      20
